                        Case 4:14-cr-00114-DPM Document 985 Filed 04/01/21 Page 1 of 4
 AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                        Sheet I



                                      UNITED STATES DISTRICT COURT
                                                          Eastern District of Arkansas

             UNITED STATES OF AMERICA                                  )) JUDGMENT IN A CRIMINAL CASE
                                 V.                                    ) (For Revocation of Probation or Supervised   iirefJ.1~ ED
                                                                       )                                         U.S. DISTRICT COURT
                  Bradley Frank Covington                                                                  EASTER N o;;:_;-;·r~ !CT ARKANSAS
                                                                       )
                                                                       ) Case No. 4:14-cr-114-DPM-10
                                                                       ) USM No. 28797-009
                                                                       )
                                                                       ) Charles Daniel Hancock
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           _M_a_n_d~
                                                                .,_S_t_d_.&_S~p_e_c_.___ of the term of supervision.
D   was found in violation of condition(s) count(s) _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number              Nature of Violation                                                               Violation Ended
1 (Spec. 1)                     Failing to complete chemical-free living, a Grade C Violation                  09/01/2020

2 (Std. 4)                      Failing to truthfully answer the probation officer's questions,

                                                     a Grade C Violation                                       09/01/2020

                                                                 (continued)

       The defendant is sentenced as provided in pages 2 through _ _4__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 4528                                                   04/01/2021
                                                                                              Date oflmposition of Judgment
Defendant's Year of Birth:            1985

City and State of Defendant's Residence:
Sherwood, AR
                                                                          D.P. Marshall Jr.                    United States District Judge
                                                                                                  Name and Title of Judge
                         Case 4:14-cr-00114-DPM Document 985 Filed 04/01/21 Page 2 of 4
 AO 245D (Rev. 09/ 19)   Judgment in a Criminal Case for Revocations
                         Sheet IA

                                                                                              Judgment- Page _   _,, 2'----    of _   _ 4~   _
 DEFENDANT: Bradley Frank Covington
 CASE NUMBER: 4:14-cr-114-DPM-10

                                                    ADDITIONAL VIOLATIONS

                                                                                                                              Violation
Violation Number                Nature of Violation                                                                           Concluded
3--4 (Mand. & Spec. 2)           Using a controlled substance and failing to comply with drug treatment,

                                             a Grade C Violation                                                              12/21/2020

5 (Std. 5)                       Failing to notify the probation officer before a change in residence,

                                             a Grade C Violation                                                              11/30/2020

7 (Std . 7)                      Failing to obtain employment, a Grade C Violation                                            12/30/2020
                        Case 4:14-cr-00114-DPM Document 985 Filed 04/01/21 Page 3 of 4
AO 245D (Rev. 09/ 19)     Judgment in a Criminal Case for Revocations
                          Sheet 2- Imprisonment
                                                                                                     Judgment -   Page   - =3-   of   4
DEFENDANT: Bradley Frank Covington
CASE NUMBER: 4: 14-cr-114-DPM-10


                                                                IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :
12 months.




     itl'   The court makes the following recommendations to the Bureau of Prisons:

1) that Covington participate in a substance-abuse treatment program during incarceration;
2) that Covington participate in eudcational and vocational programs during incarceration; and
3) designation to FCI Memphis or FCI Yazoo City to facilitate family visitation.

     itl'   The defendant is remanded to the custody of the United States Marshal.

     •      The defendant shall surrender to the United States Marshal for this district:
            •    at   _________ •                        a.m.     •     p.m.    on
            •    as notified by the United States Marshal.

     •      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            •    before 2 p.m. on
            •    as notified by the United States Marshal.
            •    as notified by the Probation or Pretrial Services Office.

                                                                        RETURN
I have executed this judgment as follows:




            Defendant delivered on                                                       to

at   _ _ _ __ _ _ _ _ _ _ __ _                        with a certified copy of this judgment.




                                                                                                 UNITED STATES MARSHAL


                                                                               By
                                                                                              DEPUTY UNITED STATES MARSHAL
                         Case 4:14-cr-00114-DPM Document 985 Filed 04/01/21 Page 4 of 4
 AO 245D (Rev. 09/ 19)    Judgment in a Criminal Case for Revocations
                          Sheet 3 - Supervised Release
                                                                                                  Judgment- Page   _ 4__ of         4
DEFENDANT: Bradley Frank Covington
CASE NUMBER: 4:14-cr-114-DPM-10
                                                         SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 None.




                                                     MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                •   The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                    substance abuse. (check if applicable)
4.     •  You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.     •  You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     •  You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
          where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     •  You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
